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                                           8                                UNITED STATES DISTRICT COURT
                                           9                               NORTHERN DISTRICT OF CALIFORNIA
                                          10                                         SAN JOSE DIVISION
For the Northern District of California




                                          11   ROBERT A. NITSCH, JR.,                           )    Case No.: 14-CV-04062-LHK
    United States District Court




                                                                                                )
                                          12             Plaintiff, and on behalf of all others )    ORDER SETTING CASE
                                                         similarly situated,
                                          13                                                    )    MANAGEMENT CONFERENCE
                                                      v.                                        )
                                          14                                                    )
                                               DREAMWORKS ANIMATION SKG, INC.;                  )
                                          15   PIXAR; LUCASFILM LTD., LLC; THE WALT )
                                               DISNEY COMPANY; DIGITAL DOMAIN 3.0, )
                                          16   INC.; IMAGEMOVERS; IMAGEMOVERS                   )
                                               DIGITAL; SONY PICTURES ANIMATION
                                          17   AND SONY PICTURES IMAGEWORKS,                    )
                                                                                                )
                                          18             Defendants.                            )
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                                          20          A case management conference is hereby scheduled for November 5, 2014 at 2:00 p.m.
                                          21   Pursuant to Civil Local Rule 16-10(d), the parties shall file a joint case management statement by
                                          22   October 29, 2014.
                                          23   IT IS SO ORDERED.
                                          24   Dated: September 24, 2014                            ________________________________
                                                                                                    LUCY H. KOH
                                          25
                                                                                                    United States District Judge
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                                               Case No.: 14-CV-04062-LHK
                                               ORDER SETTING CASE MANAGEMENT CONFERENCE
